     Case 23-21941        Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                    Document     Page 1 of 65




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Opulent Vacations, Inc.


                         IN THE UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION


    In re                                                          Bankruptcy No. 23-21941

    OPULENT VACATIONS, INC.,                                               Chapter 11
                                                                         (Subchapter V)
                    Debtor.
                                                                      Hon. Joel T. Marker


    MOTION FOR AN ORDER (A) AUTHORIZING THE SALE OF THE DEBTOR’S PARK
        CITY ASSETS FREE AND CLEAR OF LIENS, CLAIMS AND INTERESTS,
       (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
    EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (C) WAIVING THE 14-DAY
               STAY PERIOD AND (D) GRANTING RELATED RELIEF

            Opulent Vacations, Inc., debtor and debtor-in-possession (the “Debtor”) in the above-

captioned chapter 11 case under subchapter V (the “Case”), moves (the “Motion”) the Court for

entry of an order (a) approving an Asset Purchase Agreement (the “Purchase Agreement”), subject

to higher and better offers,1 by and between the Debtor, as seller, and REBL Utah, LLC, as buyer

(“Buyer”), (b) approving the proposed sale (the “Sale”) of substantially all of the Debtor’s Park


1
         A copy of the proposed Purchase Agreement is attached hereto as Exhibit “A”. If not otherwise
defined herein, capitalized terms shall have the meaning provided in the Purchase Agreement. Between the
filing of this Motion and the entry of an order on the Motion, the Debtor will file an updated version of the
Purchase Agreement with additional schedules filled in.




{00176209.DOC /}
  Case 23-21941           Doc 63      Filed 06/29/23 Entered 06/29/23 15:26:55            Desc Main
                                      Document     Page 2 of 65




City Operations and related assets (collectively and as more particularly identified in the Purchase

Agreement, the “Acquired Assets” or, as sometimes used herein, the “Assets”), and an option for

Buyer to acquire the Debtor’s Lake Tahoe Operations thereafter, and the assumption and

assignment of certain executory contracts, as more particularly identified in the Purchase Agreement

pursuant to an order in substantially the form attached hereto as Exhibit “B” (the “Sale Order”),

(c) waiving the fourteen day stay otherwise applicable under Federal Rules of Civil Procedure

6004(h) and 6006(d), and (d) granting related relief.

                                                MOTION

         A succinct statement of the precise relief sought and the specific grounds for the Motion is

as follows.

         A.        The Debtor requests entry of the Sale Order, which shall include: (a) approval of the

form of the Purchase Agreement; (b) approval of the assumption and assignment of the Assumed

Contracts (defined below), provided, however, that Owner consents shall be an express condition

precedent to the assumption and assignment of any Service Rental Marketing Agreement; (c)

authority for the Debtor to sell the Acquired Assets to Buyer (or to a bidder submitting a higher or

better offer) free and clear of all other liens, claims, encumbrances and interests; and (d) authority

for the Debtor to provide an option to Buyer to purchase the Lake Tahoe Operations for $1,250,000,

subject to higher or better offers.

         B.        The Debtor has determined, in the exercise of its business judgment, that the

proposed Sale is in the best interests of creditors and the bankruptcy estate.

         C.        A sound business reason exists for the proposed transaction. Without limitation, the

Debtor does not anticipate that its Park City Operations will remain viable in the near term or the

long term, particularly given the pre-Petition Date issues the Debtor had with its Park City

Operations. The Debtor desires to provide its Park City Owners with an exit strategy that

maximizes their returns for the assignment of Service Rental Marketing Agreements and reduces



{00176209.DOC /}                                     2
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                    Document     Page 3 of 65




the overall pool of unsecured claims against the Debtor’s estate. Because the assumption and

assignment of the Assumed Contracts contemplates that an agreed upon cure amount (as that term is

used pursuant to Bankruptcy Code § 365) will be paid to the Park City Owners, the impact on the

Debtor’s estate should be quite significant.

         D.        The proposed Sale of the Assets as a going concern to Buyer (or a higher bidder)

will maximize the value of the Assets and the estate and enhance the possibility of a meaningful

distribution to creditors.

         E.        Buyer is paying fair and reasonable consideration to the Debtor for the Assets, and

Buyer’s acquisition of the Assets is a critical part of Buyer’s interest in purchasing the Lake Tahoe

Operations. The Debtor’s sale of the Lake Tahoe Operations is the Debtor’s best means of

proposing a return to creditors in this Case.

         F.        The Sale has been negotiated at arm’s-length and in good faith by the Debtor and

Buyer, following thorough consideration of all possible alternatives by the Debtor. There is no

evidence of collusion or unfair dealing.

         G.        The Debtor has provided and/or will provide adequate and reasonable notice of the

Motion and the proposed Sale.

         H.        Good cause exists to waive the fourteen-day stay otherwise applicable under Rules

6004(h) and 6006(d). Among other reasons, the Debtor’s Park City Operations are on their “last

leg” under current management, and the Debtor risks losing any remaining goodwill with Park City

Owners the longer a sale is delayed. As such, it is critical that a closing of the Sale occurs as soon

as possible.




{00176209.DOC /}                                     3
4871-3872-3689, v. 3
     Case 23-21941        Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                    Document     Page 4 of 65




                        MEMORANDUM OF POINTS AND AUTHORITIES

         In further support of the motion and the relief requested, the Debtor respectfully states as

follows.

I.       JURISDICTION AND VENUE

         1.        The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

1334.

         2.        The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

         3.        Venue of the Case and the contested matter presented by the Motion is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The legal predicates for the relief sought in the Motion are sections 105(a), 363 and

365 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 6004, 6006 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Rules”), and corresponding Local Rules.

II.      PROCEDURAL BACKGROUND

         5.        On May 15, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code, thereby initiating the Case.

         6.        The Debtor has elected to proceed under Subchapter V of Chapter 11 of the

Bankruptcy Code. Accordingly, this is a “Sub-V” case, and the provisions of Bankruptcy Code §§

1181 – 1195 are applicable to this Case.

         7.        The Debtor continues to manage its affairs and property as a debtor-in-possession

pursuant to 11 U.S.C. §§ 1182 and 1184.

         8.        Consistent with Bankruptcy Code § 1183, a “small business” trustee, D. Ray Strong

(the “Trustee”), is appointed in the Case.




{00176209.DOC /}                                     4
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                    Document     Page 5 of 65




III.     RELEVANT FACTS

                               Background of the Company and Its Business

         9.        The Debtor is a high-end vacation home rental agency and property management

company headquartered in Park City, Utah, and has operated since 2011. The Debtor manages

properties primarily in Park City, Utah, Lake Tahoe (Nevada and California), and La Jolla,

California. The Debtor also manages properties in Hawaii, Arizona, and other parts of California.

The Debtor has segregated bank accounts and separately tracks the income it receives from the

various “regions” in which it operates, and generally treats the various regions as different divisions

of its operation.

         10.       For the guests that book rentals with properties managed by the Debtor (collectively,

the “guests”), the Debtor specializes in curating a selection of luxury homes, arranging “full

service” rentals (e.g., no “chore lists” when booking out, offering concierge services, etc.), and

providing other luxury amenities so that guests can fully relax and maximize their time on vacation.

         11.       For the homeowners with whom the Debtor has “Service Rental Marketing

Agreements” or similar such contracts (collectively, the “Owners” or, if specific to the Park City

Operations, the “Park City Owners”), the Debtor offers expertise in maximizing rental rates and

reservation values for luxury properties, achieving higher revenues with lower occupancy, and

minimizing risk and wear and tear on homeowners’ properties.

         12.       The Debtor is paid an average commission between 26% - 35% per booking for its

services to homeowners. In exchange, the Debtor handles every aspect of booking, collections, and

property management for the homeowners with whom it has contracts.

         13.       In 2021, the Debtor hired a new President to oversee operations and growth (the

“Former President”). The Former President was the former CEO of a major hospitality company

and had experienced success in that role.




{00176209.DOC /}                                     5
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                    Document     Page 6 of 65




         14.       Unfortunately, the Former President overspent, underperformed, and did the

opposite of what the Debtor had hired him to do. After approximately a year at the Debtor’s helm,

the Debtor discovered that the Former President had put the Debtor in a substantial deficit regarding

amounts owed to homeowners and failed to achieve the sales results or growth that the Debtor

expected. Among the issues the Debtor discovered (over time) were: (i) the Former President hired

a large and expensive group of employees from his former employer, whose salaries the Debtor did

not have the revenues to maintain, and whose contributions to the Debtor were minimal; (ii) the

Former President spent hundreds of thousands of dollars to “develop technology” that was supposed

to improve operations, but only made operations less efficient; (iii) the Former President

transitioned the Debtor from a fully integrated and automated financial system to a system that

required complicated manual entries, auditing, and other time-intensive processes; (iv) the Former

President spent hundreds of thousands of dollars on relatively pointless products, marketing, and

technology; and (v) when the Debtor finally fired him, in September of 2022, the Former President

held the Debtor hostage for $25,000 by refusing to turn over website control, passwords and other

proprietary information.

         15.       The Former President’s involvement with the Debtor came at the worst time

possible. In 2021, the Debtor achieved gross revenues of approximately $17.5 million. But in 2022,

the Debtor’s gross revenues fell to approximately $14.2 million. Because the Former President had

taken the Debtor from a fully-automated accounting system to a manual platform, the Debtor failed

to “course correct” as quickly as it could have. Moreover, while the Debtor’s accounting staff was

able to keep up with the manual accounting processes implemented by the Former President until

about June 2022, the accounting staff fell behind on reconciling financials after certain key

employees left.

         16.       The Debtor’s longest-running operations were in Park City, Utah. As of the Petition

Date, the Debtor had Service Rental Marketing Agreements with approximately 40 Owners in Park



{00176209.DOC /}                                    6
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                     Document     Page 7 of 65




City, Utah. The Debtor also has two leases (office and storage), miscellaneous personal property,

such as linens and a vehicle, intellectual property, and other “going-concern” type assets related to

Park City. As described in more detail in the Purchase Agreement, the Debtor’s assets and

operations related to Park City are defined herein as the “Park City Operations.”

         17.       More recently, the Debtor acquired assets from a property management company in

Lake Tahoe (Nevada and California), including several Owner agreements and other going concern

assets. The Debtor’s Lake Tahoe assets and operations are defined herein as the “Lake Tahoe

Operations.” The Lake Tahoe Operations are run as a separate division of the Debtor, and have

remained profitable and sustainable both pre- and post-Petition Date. Except for the filing of this

Case (which raised alarm bells for Owners in Lake Tahoe), the Debtor maintains a good reputation

in Lake Tahoe and views the Lake Tahoe Operations as its most valuable asset.

         18.       Unfortunately, the Park City Operations suffered the most due to the Former

President’s various issues, and the Debtor owes substantial pre-Petition Date amounts to the Park

City Owners.

         19.       At the time of the filing, the Debtor was subject to at least one lawsuit, as listed in

the Statement of Financial Affairs, and anticipated several more lawsuits imminently. The

bankruptcy case has afforded the Debtor a breathing spell and the opportunity to permit it to devote

its limited financial and personnel resources to an orderly liquidation of its business as a going

concern, while maintaining business operations in the interim period.

         20.       The Debtor has explored multiple options for providing repayment to creditors.

After considering all practicable alternatives, the Debtor has entered into the Purchase Agreement

and has filed this Motion for approval of a sale of its assets as a going concern to a stalking horse

buyer, or any qualified bidder making a higher or better offer, to monetize and preserve the value of

the Debtor’s existing business and assets for the benefit of creditors.




{00176209.DOC /}                                       7
4871-3872-3689, v. 3
    Case 23-21941         Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                    Document     Page 8 of 65




                               Liens and Encumbrances Against the Assets

         21.       The United States Small Business Administration (the “SBA”) and the Utah State

Tax Commission (the “USTC”) have asserted “all assets” liens against the Debtor.

         22.       Pursuant to the Final Order Approving Stipulation Permitting Use of Cash

Collateral and Providing for Adequate Protection [Docket No. 49] (the “Cash Collateral Order”),

authorizing use of cash collateral, the above-referenced creditors may or do hold “replacement

liens” upon the post-petition assets of the Debtor to the extent of any post-Petition Date diminution

in their collateral.

         23.       Upon information and belief, the SBA and USTC are the only persons who, as of the

Petition Date, had filed UCC financing statements against the Debtor in the State of Utah and/or had

held or may hold perfected and enforceable liens against the Debtor’s assets.

                               Unexpired Leases and Executory Contracts

         24.       As listed on Schedule G of record in this Case [Docket No. 50], the Debtor is party

to several unexpired leases and executory contracts.

         25.       As described in section 2.2 of the Purchase Agreement, the Debtor is proposing to

“assume” and to “assign” to the Buyer the Assumed Contracts listed on Schedule 2.2.2 To be clear,

the Debtor anticipates assuming and assigning as many of the Park City Owners’ Service Rental

Marketing Agreements as it can. Subject to the notice requirements under the Bankruptcy Code, the

Buyer may modify the list of Assumed Contracts through Closing (a) by electing not to take an

assignment of some or all of leases and contracts listed on Schedule 2.2, and/or (b) by identifying

additional leases and contracts to be assigned to it as Assumed Contracts.

         26.       Under the Purchase Agreement, the Buyer is obligated to pay any “cure” amount

and to satisfy any other “cure” obligation that may be applicable under section 365 of the

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  Because the Assumed Contracts will require Owner Consent, this list will be updated in a later
filing as Owner Consents are obtained.




{00176209.DOC /}                                     8
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                     Document     Page 9 of 65




Bankruptcy Code, provided, however, that to the extent the Buyer assumes a Service Rental

Marketing Agreement for a Park City Owner, the “cure” amount shall be no more than 75% of the

total pre-Petition Date debt owed to such Owner, or such other lesser amount as may be agreed

upon by the Buyer and the Park City Owner. Put another way, Buyer’s determination whether to

treat a particular Service Rental Marketing Agreement as an Assumed Contract likely will turn on

whether the counterparty insists on payment of a “cure amount” that is greater than 75% of the pre-

Petition Date debt as a condition of the Debtor’s assumption and assignment of the contract.

Another factor will be the counterparty’s willingness to enter into a new, extended agreement with

the Buyer for services related to Owner’s home.

         27.       For the avoidance of doubt, the Debtor will not assume (under this Motion) any

executory contract or lease that is not being assigned to the Buyer. And if any agreement is assumed

and assigned as an “Assumed Contract,” the assumption and assignment shall be deemed (by

consent of the Owner, each an “Owner Consent”) to be in full satisfaction and cure of any default

pursuant to Bankruptcy Code § 365(b)(1)(A). The Debtor and Buyer anticipate contacting all Park

City Owners shortly after the filing of this Motion to determine if they will enter into an Owner

Consent.

                                        The Proposed Sale of Assets

         28.       The Debtor has determined that it is in the best interests of its estate and creditors to

conduct an orderly liquidation of its Assets. To maximize the potential return to creditors, it is

critical that the Debtor sell all or substantially all of its assets as a “going concern,” as opposed to a

piecemeal liquidation.

         29.       Further, if the Debtor’s operations cease and its assets are liquidated, all parties

would suffer substantial losses, including the secured creditors, priority creditors, unsecured

creditors, equity holders and the Debtor’s guests who have booked vacations with Owners. Asset

values would be substantially diminished if operations are terminated and assets are sold at



{00176209.DOC /}                                       9
4871-3872-3689, v. 3
  Case 23-21941           Doc 63      Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                     Document      Page 10 of 65




liquidation, because most of the Debtor’s value lies within its operations as a going concern (it is, at

its core, a service business). The value of the Debtor’s intangible assets and its enterprise value may

erode rapidly and/or completely evaporate.

         30.       The Debtor, however, cannot continue with “business as usual” for much longer. As

such, the Debtor must pursue a sale and close the sale as soon as possible to realize the value of the

Assets and to maximize potential distributions to creditors.

         31.       Accordingly, the Debtor intends to continue operations as necessary to protect estate

assets, service customers and maximize the value of its Assets for the benefit of its estate and

creditors, until a sale of the Assets (and, subsequently, a sale of the Lake Tahoe Operations) is

approved by the Court.

                              The Debtor’s Pre- and Post-Petition Marketing Efforts

         32.       The Debtor has been looking for investors for its business for the last year or two.

More recently, and shortly before the Petition Date, the Debtor began engaging in serious efforts to

sell its operations as a going concern. The Debtor and its management actively contacted persons

and companies that may be interested in purchasing the Assets. The Debtor has entered into non-

disclosure agreements and provided due diligence information to several parties. Other than the

offer of the Buyer, however, all resulting offers were rejected by the Park City Owners, whose

consents are critical to any sale.

         33.       The Debtor will make additional good faith efforts to identify persons who might

have interest in the Assets and the Lake Tahoe Operations and to take steps reasonably calculated to

expose the Assets and the Lake Tahoe Operations to the market.

IV.      RELIEF REQUESTED

                   A.     General Statement of Relief Requested

         34.       By this Motion, the Debtor requests that the Court enter the Sale Order, (i)

authorizing the sale of the Assets to Buyer (or if the Debtor receives a higher or better offer, to such



{00176209.DOC /}                                     10
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                    Document      Page 11 of 65




party), “free and clear” of all liens, claims, encumbrances and interests, (ii) authorizing the

assumption and assignment to Buyer (or a party with a higher or better offer) of certain executory

contracts and unexpired leases associated with the Debtor’s business (i.e., the Assumed Contracts),

(iii) authorizing Buyer to pay the amounts, if any, necessary to cure existing defaults or arrearages

under the Assumed Contracts, provided, however, that as to Service Rental Marketing Agreements,

such amounts shall be no greater than 75% of the pre-Petition Date amounts owed to Owners, and

(iv) granting related relief.

          35.      As stated above, the Debtor desires to sell its Park City Operations and, thereafter,

its Lake Tahoe Operations, as a going concern in order to maximize the value of its assets and

receive the highest possible consideration therefrom.

          36.      Accordingly, the Debtor entered into arms-length negotiations with Buyer for the

sale of the Assets on terms which the Debtor believes to be fair and reasonable. The Purchase

Agreement is the result of these good faith negotiations.

          37.      The Purchase Agreement contemplates the sale of the Assets to Buyer, subject to

higher and better offers. The Purchase Agreement also contemplates granting Buyer a four-month

option to purchase the Lake Tahoe Operations for a price of $1,250,000, subject to higher and better

offers.

          38.      It is essential that the Sale be approved quickly, so that the Debtor does not lose its

remaining going concern value.

                   B.      The Purchase Agreement

          39.      Pursuant to the Purchase Agreement, the Debtor will (i) sell the Assets “free and

clear” of all liens, claims, interests and encumbrances (except for ongoing obligations to

counterparties of Assumed Contracts) and (ii) assume and assign to Buyer, or a party that makes a

higher or better offer, the Assumed Contracts.




{00176209.DOC /}                                      11
4871-3872-3689, v. 3
    Case 23-21941         Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                    Document      Page 12 of 65




         40.       The Purchase Agreement was negotiated at arm’s-length and in good faith by the

Debtor and Buyer, following thorough consideration of all possible alternatives by the Debtor. The

Debtor believes that the price to be received from the Sale, as set forth in the Purchase Agreement,

and subject to the ability of interested parties to submit overbids for the Assets at the Auction, will

result in the highest and best value for the Debtor’s estate, creditors and interest holders.

         41.       A summary of the key terms of the Purchase Agreement follows.3

                   a.     Purchase Price. As described in section 3 of the Purchase Agreement, the

         total consideration to be paid by Buyer to Seller for the Assets, i.e., the Purchase Price,

         includes:

                         i.        a Cash Payment in the amount of $25,000, which includes a $5,000

                   non-refundable deposit (only refundable if the Debtor accepts a higher or better

                   offer); and

                        ii.        release and/or satisfaction of the pre-petition and post-petition claims

                   of all Park City Owners who agree that their Service Rental Marketing Agreements

                   shall be assumed and assigned as Assumed Contracts (value to the estate could be in

                   the hundreds of thousands of dollars, depending on how many Owners provide

                   Owner Consents);

                   b.     Assets. The Assets to be sold and assigned to Buyer at Closing consist of

         substantially all of the assets of the Debtor which relate to the Park City Operations.

         Necessarily, this includes Assumed Contracts, substantially all of the Debtor’s vehicles,

         equipment and other tangible personal property in its Park City office and warehouse (and

         the Debtor’s two leases in Park City), the Debtor’s technology and systems used for its Park



3
       To the extent this summary of the Purchase Agreement differs in any way from the terms of the
Purchase Agreement, the Purchase Agreement controls.




{00176209.DOC /}                                     12
4871-3872-3689, v. 3
  Case 23-21941          Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                   Document      Page 13 of 65




         City Operations, and all of the Debtor’s intellectual property (including patents, marks,

         client lists and any trade secrets).

                   c.    Excluded Assets. The Debtor is not selling or assigning to Buyer any of the

         Excluded Assets, as defined in section 2.1(c) of the Purchase Agreement. The Excluded

         Assets encompass, without limitation, (i) the cash payment related to the Sale, and any other

         cash held by the Debtor (except cash held in trust related to the Park City Operations), (ii) all

         Chapter 5 Claims, and (iii) the Lake Tahoe Operations.

                   d.    No Representations or Warranties. As described in section 4.5 of the

         Purchase Agreement, the Debtor is selling the assets subject to all faults except as otherwise

         disclosed in the Purchase Agreement or in writing to Buyer.

                   e.    Sale Free and Clear. The Assets will be sold, transferred and assigned to

         Buyer free and clear of all other liens, claims, encumbrances and interests.

                   f.    Assumption of Executory Contracts and Leases. The Debtor will assume

         and assign to Buyer all executory contracts and unexpired leases designated by Buyer as

         Assumed Contracts. (As of the date of this Motion, the executory contracts and leases

         presently designated as Assumed Contracts are listed on Schedule 2.2 to the Purchase

         Agreement.) Buyer must pay all amounts necessary under section 365(b)(1)(A) of the

         Bankruptcy Code, subject to Owner Consents and the limitations set forth in the Purchase

         Agreement, for the Debtor to assume the Assumed Contracts, and will provide adequate

         assurance of future performance under the Assumed Contracts.

                   g.    Sale Subject to 20 Owners’ Consent. The Sale is conditioned on, among

         other things, no less than twenty (20) Park City Owners agreeing to extend the terms of their

         Service Rental Marketing Agreements with Buyer for a period of not less than two or three

         years. As of the date of this Motion, the Debtor has tentatively received commitments from




{00176209.DOC /}                                    13
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                   Document      Page 14 of 65




         approximately 14 Owners. The Debtor and Buyer will diligently work to obtain Owner

         Consents from at least twenty Owners to ensure that the Sale is finalized.

                   h.     Breakup Fee. If the Debtor accepts a higher or better offer, the Debtor will

         be subject to a breakup fee of $50,000.

                   C.     Higher and Better Offers

         42.       The Purchase Agreement is subject to higher and better offers. The Debtor will reach

out to existing contacts and parties who previously expressed interest in purchasing the Assets (and

the Lake Tahoe Operations) in an effort to market the Assets. If the Debtor receives a Higher or

Better Offer (as defined in the Purchase Agreement), then the Debtor will ask the Court to approve

auction procedures for a public auction of the Assets.

         43.       The Debtor believes any additional extended marketing effort with respect to the

Assets will not produce additional bidders or result in tangible benefit to the Debtor’s estate, and

likely will lead to a dangerous and perhaps fatal erosion of the Debtor’s business. Further, the

Debtor will re-contact all parties who have previously expressed any interest in the Assets to inform

them of the sale and their opportunity to submit a Higher or Better Offer.

         44.       The Debtor may determine, in its business judgment, whether an offer is a higher or

otherwise better offer and reject any offer that it determines is not a higher or better offer.

                   E.     Assumption and Assignment of Executory Contracts and Unexpired
                          Leases
         45.       As part of the Motion, the Debtor seeks authority to assume and assign the Assumed

Contracts to Buyer.

         46.       With respect to the Assumed Contracts, the Debtor will serve this Motion on each

non-Debtor party to an Assumed Contract. To the extent that a party to an Assumed Contract is not

an Owner that has executed an Owner Consent, the Debtor shall also serve notice of the Debtor’s

intention to assume and assign that party’s contract (the “Assignment Notice”). The Debtor will

mail the Assignment Notice no later than ten (10) business days prior to the Approval Hearing. The


{00176209.DOC /}                                    14
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                   Document      Page 15 of 65




Assignment Notice will state the cure amount necessary to assume the Assumed Contract pursuant

to section 365 of the Bankruptcy Code (the “Cure Amount”) and provide the contracting parties

with an opportunity to object to such Cure Amount, by filing and serving a written objection no

later than four (4) business days prior to the Approval Hearing. If no objection is timely filed and

served, the Cure Amount set forth in the Assignment Notice will be controlling notwithstanding

anything to the contrary in any Assumed Contract or any other document, and the non-Debtor party

to the Assumed Contract will be forever barred from asserting any other claim arising prior to the

assignment against the Debtor or Buyer (or the Successful Bidder) as to such Assumed Contract.

         47.       The effective date of any assumption and assignment of any Assumed Contract shall

be the date on which the Sale closes, i.e., Closing. Accordingly, any Cure Amounts to be paid

under any Assumed Contract will, unless a deferred payment agreement has been reached (e.g., via

an Owner Consent), be paid simultaneously with Closing.

IV.      BASIS FOR RELIEF
                   A.     The Sale Is within the Debtor’s Sound Business Judgment.
         48.       Under the Bankruptcy Code, “[t]he Trustee [or debtor-in-possession], after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). Furthermore, the Bankruptcy Code gives this Court the authority, in

its discretion, to “issue any order, process, or judgment that is necessary or appropriate to carry out

the provisions of [title 11].” 11 U.S.C. § 105(a).

         49.       As the Collier on Bankruptcy treatise notes:
                   Historically, there was disagreement on the issue of whether and
                   under what circumstances a chapter 11 debtor may sell substantial
                   assets under section 363. It is now generally accepted that section
                   363 allows such sales in chapter 11, even where there is no
                   emergency requiring immediate action.
3 Collier on Bankruptcy ¶363.02[3], at 363-16 (Alan N. Resnick & Henry J. Sommer Eds.,

16th ed.).




{00176209.DOC /}                                     15
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                   Document      Page 16 of 65




         50.       A sale of a debtor’s assets should be authorized pursuant to Bankruptcy Code

section 363 if a sound business purpose exists for doing so. See, e.g., In re Med. Software

Solutions, 286 B.R. 431, 440-41 (Bankr. D. Utah 2002); In re Lionel Corp., 722 F.2d 1063 (2d Cir.

1983); In re Martin, 91 F.3d 395 (3d Cir. 1996); In re Titusville Country Club, 128 B.R. 396 (W.D.

Pa. 1991); In re Industrial Valley Refrigeration and Air Conditioning Supplies, Inc., 77 B.R. 15

(E.D. Pa. 1987); In re Ancor Exploration Co., 30 B.R. 802, 808 (N.D.Okl. 1983) (bankruptcy court

has wide-latitude in approving sale of substantially all of the estate assets under section 363(b)); In

re Allison, 39 B.R. 300, 301-02 (D.N.M. 1984) (“The clear weight of authority authorizes the sale

of all or substantially all of the debtor’s assets pursuant to Section 363(b) in a chapter 11

proceeding, even absent a disclosure statement, plan, and vote of the creditors.”) The respected

treatise Collier on Bankruptcy explains:
                   [T]he more recent cases tend to focus on whether the sale is
                   supported by a sound business reason and is based on a sound
                   exercise of business judgment…. [T]he bankruptcy court reviews the
                   trustee’s (or debtor in possession’s) business judgment to determine
                   independently whether the judgment is a reasonable one. The court
                   should not substitute its judgment for the trustee’s but should
                   determine only whether the trustee’s judgment was reasonable and
                   whether a sound business justification exists supporting the sale and
                   its terms.
Id. ¶363.02[4], at 363-18 (emphasis added).

         51.       Where a proposed sale of assets prior to confirmation of a plan encompasses

substantially all of the assets of the bankruptcy estate, courts sometimes have considered four

factors in determining whether the proposed sale constitutes a sound and reasonable exercise of

business judgment: (i) whether a sound business reason exists for the proposed transaction;

(ii) whether fair and reasonable consideration is provided; (iii) whether the transaction has been

proposed and negotiated in good faith; and (iv) whether adequate and reasonable notice is provided.

See Med. Software Solutions, 286 B.R. at 440 (explaining and analyzing factors); Lionel Corp., 722

F.2d at 1071 (identifying the “sound business purpose” test); In re Abbotts Dairies of Penn., Inc.,



{00176209.DOC /}                                    16
4871-3872-3689, v. 3
  Case 23-21941            Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                     Document      Page 17 of 65




788 F.2d 143, 145-47 (3d Cir. 1986) (implicitly adopting the articulated business justification test of

Lionel, and adding the “good faith” requirement); In re Delaware & Hudson Ry. Co., 124 B.R. 169,

176 (D. Del. 1991) (adopting Lionel).

         52.       The immediate consummation of the Sale is the best way – and perhaps only way –

to preserve the enterprise value of the Assets, thereby maximizing the value of the Debtor’s estate

for the benefit of the Debtor’s creditors. Uncertainty as to the future of the Debtor’s business will

cause continued downward pressure upon its value, and the Debtor cannot continue to operate

without buy-in from Owners and guests. Accordingly, it is imperative that a clear signal be given as

to the Debtor’s plans for its business, i.e., its orderly liquidation.

                           (1)      A sound business reason exists for the proposed sale.

         53.       There is more than adequate business justification to sell the Assets to Buyer on an

expedited basis. In the instant Case, the best way to maximize the value of the Debtor’s estate is to

sell its assets as a going business concern, thereby preserving the substantial goodwill of the

business, maintaining guest and owner relationships and avoiding a liquidation sale of the Assets.

While the Debtor remains a debtor-in-possession under chapter 11, it will be difficult for the Debtor

to instill confidence in owners and guests. A sale of the Debtor’s business as a going concern to a

stable, financially sound and qualified bidder eliminates these uncertainties, and maximizes the

value of the Debtor’s business and its Assets.

         54.       The Debtor’s value as a going concern is significantly greater than the total value of

all its disparate parts.

                   a.      Much of the Debtor’s equipment and other tangible personal property has a

         relatively small, or nominal, liquidation value.

                   b.      Further, there is significant value in (i) the Debtor’s Owner base and

         contracts, but only for a qualified buyer that can assume operations, (ii) the Debtor’s

         specialized employees, and (iii) the Debtor’s goodwill, marks, customer relationships, trade



{00176209.DOC /}                                     17
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                    Document      Page 18 of 65




         secrets and other intellectual property. This enterprise or “going concern” value may be lost

         or substantially eroded if the Debtor ceases business operations.

         55.       Additionally, as time passes, the Debtor’s administrative expenses and other post-

petition liabilities increase.

         56.       Finally, the Debtor’s assets are encumbered by liens in favor of the SBA and USTC.

Any equity remaining in the Assets is eroding through continuing accrual of interest and loan

charges pursuant to section 506(b) of the Bankruptcy Code.

         57.       Accordingly, to preserve as much of the value of the Debtor’s business as possible, it

is necessary that the Debtor’s business and substantially all of its assets be sold as a going concern

on an expedited basis.

         58.       Moreover, Buyer has offered substantial value for the Assets and is anxious to close

as soon as possible. The purchase of the Assets is also a necessary condition of Buyer’s desire to

purchase the Lake Tahoe Operations. The Debtor fears that any delay of the Sale creates a risk to

the Debtor’s ability to receive such value. Moreover, by selling the Assets now, the Debtor will

relieve itself of certain ongoing costs and expenses, thereby minimizing administrative expenses.

Accordingly, well-articulated business reasons exist for approving the Sale, such that the “business

purpose” test under section 363 of the Bankruptcy Code is met. See Lionel, 722 F.2d at 1071

(“most important[] perhaps, [is] whether the asset is increasing or decreasing in value”).
                          (2)      The Buyer is providing fair and reasonable consideration for the
                                   Assets.
         59.       A sale of the Assets pursuant to the Purchase Agreement will provide fair and

reasonable consideration to the Debtor’s estate. To dispel any doubts, the sale of the Assets to

Buyer is subject to competing bids, thereby enhancing the Debtor’s ability to receive the highest and

best value for the Assets. The fairness and reasonableness of the consideration to be received by the

Debtor ultimately will be demonstrated by a “market check” and, if other offers are obtained, an




{00176209.DOC /}                                    18
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                    Document      Page 19 of 65




auction process—the best means for establishing whether a fair and reasonable price is being paid.

Consequently, the consideration to be paid for the Assets will be both fair and reasonable.
                          (3)      The sale of the Assets has been proposed, and the Purchase
                                   Agreement has been negotiated, in good faith.
         60.       The Purchase Agreement is the product of extensive arm’s-length negotiations

between Buyer and the Debtor. These negotiations have involved substantial time and energy by

the parties and their professionals, and the Purchase Agreement reflects give-and-take and

compromises by both sides.

         61.       Moreover, the Debtor’s ability to market the Assets for higher and better offers

ensure that a prospective purchaser will not be able to exert any undue influence over the Debtor.

Under the circumstances, this Court should find that (a) the sale of the Assets is the result of good

faith arm’s-length negotiations, and (b) Buyer (or a successful bidder) is entitled to all of the

protections of section 363(m) of the Bankruptcy Code.
                          (4)      Adequate and reasonable notice of the Sale is being provided.
         62.       The final consideration for the approval of a sale under section 363 of the

Bankruptcy Code is the requirement that interested parties receive adequate notice. The Debtor is

providing notice of the Motion to all creditors, equity security holders, and Owners.

         63.       Such far-reaching notice is reasonable and appropriate pursuant to Federal Rule of

Bankruptcy Procedure 2002, because it provides all parties-in-interest with notice of the proposed

sale and of the Bidding Procedures, while at the same time enabling the Debtor to comply with the

deadlines set forth in the Purchase Agreement.
                   C.     The Sale Satisfies the Requirements of Section 363(f) of the Bankruptcy
                          Code for a Sale Free and Clear of Liens, Claims, Encumbrances and
                          Interests.
         64.       Under section 363(f) of the Bankruptcy Code, a debtor-in-possession may sell

property free and clear of any lien, claim, encumbrance or other interest in such property if:
                      (1) applicable nonbankruptcy law permits sale of such property
                   free and clear of such interest;



{00176209.DOC /}                                     19
4871-3872-3689, v. 3
  Case 23-21941            Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                     Document      Page 20 of 65




                       (2) such entity consents;
                      (3) such interest is a lien and the price at which such property is
                   to be sold is greater than the aggregate value of all liens on such
                   property;
                       (4) such interest is in bona fide dispute; or
                      (5) such entity could be compelled, in a legal or equitable
                   proceeding, to accept a money satisfaction of such interest.
11 U.S.C. § 363(f). Because Bankruptcy Code section 363(f) is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to approve the sale of the Assets free and

clear of liens, claims, encumbrances, and other interests (collectively, the “Interests”). See 11

U.S.C. § 363(f); Michigan Employment Security Comm’n v. Wolverine Radio Co. (In re Wolverine

Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (section 363(f) written in disjunctive; court

may approve sale “free and clear” provided at least one of the subsections is met); Citicorp

Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343 (E.D. Pa. 1988) (same).

         65.       The Debtor believes that the only entities holding a valid lien against the Assets are

the SBA and the USTC. Toyota Financial Services also holds a lien on the Toyota Truck that is

being sold as part of the Sale, and that lien shall remain on the Toyota Truck. Upon information and

belief, none of these creditors opposes the Sale on the terms described in the Purchase Agreement.

         66.       To the extent other alleged liens exist, they are in bona fide dispute and/or the

holders of the liens could be compelled, in a legal or equitable proceeding, to accept a money

satisfaction of the Interest.

         67.       Absent an objection, the Debtor requests entry of an order declaring not only that the

sale of the Assets is “free and clear” of all Interests (excepting only the Assumed Obligations), but

that the cash proceeds of the Sale will be received and held by the Debtor “free and clear” of any

liens or interest.

         68.       To the extent any possible holder of an “interest” objects to the Sale and provides

legal and factual evidence that its Interest is valid and not avoidable, such interest will be adequately




{00176209.DOC /}                                       20
4871-3872-3689, v. 3
  Case 23-21941           Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                    Document      Page 21 of 65




protected by having it attach to the net proceeds of the sale, subject to any claims and defenses the

Debtor may possess with respect thereto.

         69.       In summary, the Debtor should be authorized to sell the Assets free of all liens,

claims and interests pursuant to section 363(f) of the Bankruptcy Code.
                   D.     The Assumption and Assignment of Executory Contracts and
                          Unexpired Leases Should Be Authorized.
         70.       Section 365(f)(2) of the Bankruptcy Code provides, in pertinent part, that:
                   The trustee may assign an executory contract or unexpired lease of
                   the debtor only if—
                      (A) the trustee assumes such contract or lease in accordance with
                   the provisions of this section; and
                      (B) adequate assurance of future performance by the assignee of
                   such contract or lease is provided, whether or not there has been a
                   default in such contract or lease.
11 U.S.C. § 365(f)(2).

         71.       Under Bankruptcy Code section 365(a), a debtor, “subject to the court’s approval,

may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a).

Section 365(b)(1) of the Bankruptcy Code, in turn, describes the requirements for assuming an

unexpired lease or executory contract of a debtor. This subsection provides:
                   (b) (1) If there has been a default in an executory contract or
                   unexpired lease of the debtor, the trustee may not assume such
                   contract or lease unless, at the time of assumption of such contract or
                   lease, the trustee—
                           (A) cures, or provides adequate assurance that the trustee
                        will promptly cure, such default …;
                            (B) compensates, or provides adequate assurance that the
                        trustee will promptly compensate, a party other than the debtor
                        to such contract or lease, for any actual pecuniary loss to such
                        party resulting from such default; and
                           (C) provides adequate assurance of future performance
                        under such contract or lease.
11 U.S.C. § 365(b)(1).




{00176209.DOC /}                                     21
4871-3872-3689, v. 3
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                   Document      Page 22 of 65




         72.       The meaning of “adequate assurance of future performance” depends on the facts

and circumstances of each case, but should be given “practical, pragmatic construction.” EBG

Midtown South Corp. v. McLaren/Hart Env. Engineering Corp. (In re Sanshoe Worldwide Corp.),

139 B.R. 585, 593 (S.D.N.Y. 1992); see In re Prime Motor Inns Inc., 166 B.R. 993, 997 (Bankr.

S.D. Fla. 1994) (“[a]lthough no single solution will satisfy every case, the required assurance will

fall considerably short of an absolute guarantee of performance”); Carlisle Homes, Inc. v. Azzari (In

re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1988).

         73.       Among other things, adequate assurance may be provided by demonstrating the

assignee’s financial health and experience in managing the type of enterprise or property assigned.

See, e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance of

future performance is present when prospective assignee of lease from debtor has financial

resources and has expressed willingness to devote sufficient funding to business in order to give it

strong likelihood of succeeding).

         74.       As set forth in the Purchase Agreement, to the extent any defaults exist under any

executory contract or unexpired lease that is designated as an Assumed Contract, Buyer will obtain

an Owner Consent (if such contract is a Service Rental Marketing Agreement) or, if such contract is

not a Service Rental Marketing Agreement, cure any such default prior to the assumption and

assignment.

         75.       Moreover, to the extent that any counter-party to an Assumed Contract objects, the

Debtor is prepared to adduce facts at the Approval Hearing to show the financial credibility of

Buyer and its willingness and ability to perform under the Assumed Contracts.

         76.       The Approval Hearing, therefore, will provide the Court and parties-in-interest the

opportunity to evaluate and, if necessary, challenge the ability of Buyer to provide adequate

assurance of future performance under the contracts to be assumed, as required under section




{00176209.DOC /}                                    22
4871-3872-3689, v. 3
  Case 23-21941        Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                 Document      Page 23 of 65




365(b)(1)(C) of the Bankruptcy Code. The Court, accordingly, should authorize the Debtor to

assume and assign the Assumed Contracts.
VI.      CONCLUSION
         WHEREFORE, the Debtor respectfully requests that this Court enter an order substantially

in the form attached hereto as Exhibit B (a) approving the form and general terms of the Purchase

Agreement, (b) authorizing the sale of the Assets to Buyer, subject only to the Assumed

Obligations, free and clear of all other liens, claims, encumbrances and interests, (c) authorizing the

assumption and assignment of the Assumed Contracts, and (d) granting related relief.

         DATED this 29th day of June, 2023.

                                                COHNE KINGHORN, P.C.


                                                /s/ Jeffrey Trousdale
                                                JEFFREY TROUSDALE
                                                Attorneys for debtor-in-possession
                                                Opulent Vacations, Inc.




{00176209.DOC /}                                  23
4871-3872-3689, v. 3
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 24 of 65




                           EXHIBIT A
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 25 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 26 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 27 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 28 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 29 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 30 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 31 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 32 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 33 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 34 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 35 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 36 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 37 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 38 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 39 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 40 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 41 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 42 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 43 of 65
Case 23-21941   Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                         Document      Page 44 of 65




                           EXHIBIT B
  Case 23-21941         Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55          Desc Main
                                 Document      Page 45 of 65




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Opulent Vacations, Inc.
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

     In re:
                                                           Bankruptcy No. 23-21941
     OPULENT VACATIONS, INC.,                                      Chapter 11
                                                                 (Subchapter V)
              Debtor.
                                                              Hon. Joel T. Marker

ORDER (A) AUTHORIZING THE SALE OF PARK CITY ASSETS FREE AND CLEAR
OF LIENS, CLAIMS AND INTERESTS, (B) AUTHORIZING THE ASSUMPTION AND
   ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
LEASES, (C) WAIVING THE 14-DAY STAY PERIOD AND (D) GRANTING RELATED
                                RELIEF

         This matter came before the Court on August 1, 2023, at 2:00 p.m. (the “Approval

Hearing”) upon the Motion for an Order (A) Authorizing the Sale of the Debtor’s Park City

Assets Free and Clear of Liens, Claims and Interests, (B) Authorizing the Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases, (C) Waiving the 14-Day Stay

Period and (D) Granting Related Relief, dated June 29, 2023 [Docket No. --] (the “Motion”),

filed by Opulent Vacations, Inc., debtor and debtor-in-possession (the “Debtor”) in the above-

captioned chapter 11 bankruptcy case under subchapter V (the “Case”). At the Approval




{00176299.DOC / 2}
    Case 23-21941        Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                  Document      Page 46 of 65




Hearing, counsel for the Debtor and other counsel and parties-in-interest entered their

appearances on the record.

          The Motion requests, inter alia, entry of an order (the “Approval Order”):

(a) authorizing the sale (the “Sale”) to REBL Utah, LLC (as used herein, “Buyer”) of substantially

all of the Debtor’s assets related to its Park City, Utah operations (collectively, the “Assets”),1 as

more particularly identified in the Asset Purchase Agreement (the “Purchase Agreement”),2

subject to the Assumed Obligations3 and free and clear of all other liens, claims, encumbrances and

interests; (b) authorizing the assumption and assignment to of certain executory contracts and

unexpired leases, i.e., the Assumed Contracts; (c) waiving the 14-day stay otherwise applicable

under Rules 6004(h) and 6006(d); and (d) granting related relief.

         Based upon the evidence received at the Approval Hearing, the statements and

representations of counsel and all persons who desired to be heard at the Approval Hearing,

having carefully reviewed the Motion and other relevant pleadings and documents of record in

the Case, having inquired into the legal sufficiency of the evidence adduced, having considered

such other and further matters as the Court deemed appropriate, and good cause appearing, the

Court hereby

         FINDS AND CONCLUDES as follows:

         A.       the Court has jurisdiction over the Case and the contested matter presented by the

Motion pursuant to 28 U.S.C. §§ 157 and 1334;

         B.       venue of the Case and the Motion in this district is proper under 28 U.S.C. §§ 1408

and 1409;
1
         The term “Acquired Assets” is defined in section 2.1(a) of the Purchase Agreement. As used
herein, the term “Assets” refers to the “Acquired Assets.” If not otherwise defined herein, capitalized
terms used in this Order shall have the meaning provided in the Purchase Agreement or, if not defined
therein, in the Motion. Most such defined terms are listed and defined under Section 1 of the Purchase
Agreement.
2
         A copy of the Purchase Agreement is of record as Exhibit A to the Motion, as revised in the
Notice of Supplemental Exhibit filed at Docket No. --.
3
         The “Assumed Obligations” are set forth in section 2.3 of the Purchase Agreement.


{00176299.DOC / 2}                                  2
4865-8928-6249, v. 1
  Case 23-21941          Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                   Document      Page 47 of 65




         C.       the Motion and the contested matter arising pursuant thereto is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O);.

         D.       the statutory and legal predicates for the relief sought in the Motion are sections

105(a), 363(b), 363(f), 363(m), 363(n) and 365 of title 11 of the United States Code, 11 U.S.C.

§ 101 et seq. (the “Bankruptcy Code”), Federal Rules of Bankruptcy Procedure 2002, 6004, 6006,

and 9014, and related Local Rules.

         E.       as evidenced by the certificates of service on file with the Court [Docket No. --],

and based on the representations of counsel at the Approval Hearing, (i) proper, timely, adequate

and sufficient notice of the Motion, the Auction, the proposed Sale, the Approval Hearing, and

the assumption and assignment of the Assumed Contracts has been provided to all parties-in-

interest in accordance with sections 102(1), 363 and 365 of the Bankruptcy Code, Federal Rules

of Bankruptcy Procedure 2002, 6004, 6006 and 9014, (ii) such notice was good, sufficient and

appropriate in the particular circumstances, and (iii) no other or further notice of the Motion, the

Auction, the Sale, the Approval Hearing, or the assumption and assignment of the Assumed

Contracts is or shall be required;

         F.       the Debtor has articulated good and sufficient reasons for: (i) approving the Sale of

the Assets subject only to the Assumed Obligations and “free and clear” of all other liens, claims,

encumbrances and interests; (ii) authorizing the Debtor to assume and to assign to Buyer the

Assumed Contracts; and (iii) waiving the fourteen-day stay otherwise applicable under Federal

Rules of Bankruptcy Procedure 6004(h) and 6006(d);

         G.       the Debtor has marketed the Assets and conducted the Sale process reasonably, in

good faith and in compliance with the Procedures Order;

         H.       approval of the Purchase Agreement and consummation of the Sale at this time

are in the best interests of the Debtor, its creditors, its estate and all other parties-in-interest;




{00176299.DOC / 2}                                   3
4865-8928-6249, v. 1
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                   Document      Page 48 of 65




         I.       the Debtor has demonstrated both (1) a good, sufficient and sound business

purpose and justification, and (2) compelling circumstances to proceed with the Sale prior to, and

outside of, a plan of reorganization pursuant to section 363(b) of the Bankruptcy Code, in that,

among other things –

                  (i)     given the Debtor’s current financial and business condition, neither Buyer

         nor any other prospective buyer appears willing to proceed to acquire the Debtor’s business

         unless the Sale can be consummated quickly,

                  (ii)    immediate consummation and closing of the Sale is important to the Buyer,

                  (iii)   the Debtor diligently and in good faith has marketed the Assets as reasonably

         calculated to secure the highest and best offer therefor by, among other things, (a) contacting

         persons the Debtor believed might have interest in the Assets, and (b) providing relevant due

         diligence information to potential purchasers,

                  (iv)    the Sale of the Assets at this time, pursuant to 11 U.S.C. § 363(b), is

         necessary to preserve, and to capture for the benefit of the Debtor’s bankruptcy estate, the

         enterprise value of the Assets and to maximize the value of the Assets for the benefit of the

         Debtor’s estate and all interested constituencies,

                  (v)     there is meaningful risk that delaying the Sale of the Assets will result in a

         diminution in the value of the Assets via, among other things, (a) accrual of operating losses

         and mounting unpaid administrative expenses, (b) an increase in the Debtor’s potential

         liability for property taxes and/or use taxes assessed or to be assessed against the Assets, and

         (c) erosion of the Debtor’s customer base and goodwill, and

                  (vi)    any delay of the Sale of the Assets may result in an alternative outcome that

         will achieve far less value for creditors;

         J.       a reasonable opportunity to object or be heard with respect to the Motion and the

relief requested therein has been afforded to all interested persons and entities;



{00176299.DOC / 2}                                    4
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                  Document      Page 49 of 65




         K.       as used in this Order, the term "Buyer" refers to REBL Utah, LLC, or its

designee(s), since no higher and better offer was submitted for the Assets by a qualified bidder

prior to the expiration of the objection deadline for the Motion;

         L.       the Purchase Agreement was negotiated, proposed and entered into by the Debtor

and Buyer without collusion, in good faith and from arm’s-length bargaining positions;

         M.       Buyer has acted in “good faith,” and will be acting in “good faith” in

consummating the transactions contemplated by the Purchase Agreement and this Order, within

the meaning and subject to the protections of section 363(m) of the Bankruptcy Code and, as

such, any reversal or modification of this order on appeal shall not affect the validity of the Sale

or the other transactions approved hereunder unless this Order and the Debtor’s authority to

consummate the Sale is stayed before the Debtor completes or otherwise consummates the Sale;

         N.       there is no evidence of any collusion relating to the Sale process, the proposed

Sale, or the price to be paid and delivered for the Assets by the Debtor, Buyer and/or any

prospective bidder;

         O.       neither the Debtor nor any other person, including Buyer, has engaged in any

conduct that would cause or permit the Sale to be avoided under 11 U.S.C. § 363(n);

         P.       a sound business purpose exists for the Sale of the Assets to Buyer on the terms

and conditions of the Purchase Agreement, and the Debtor has exercised sound and reasonable

business judgment in accepting said terms for the Sale;

         Q.       the consideration to be paid and/or otherwise provided to the Debtor for the

Assets (i) is fair and reasonable, (ii) is the highest and best offer for the Assets, and

(iii) constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code

and under the laws of the State of Utah;

         R.       the Sale must be approved and consummated promptly in order to preserve and

maximize the value of the Assets;



{00176299.DOC / 2}                                 5
4865-8928-6249, v. 1
  Case 23-21941          Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                   Document      Page 50 of 65




         S.       the transfer of the Assets to Buyer will be a legal, valid and effective transfer of

the Assets, and will vest Buyer with all right, title and interest of the Debtor to the Assets;

         T.       excepting only the Assumed Obligations, the Sale and transfer of the Asset to Buyer

will vest Buyer with good and marketable title to the Assets, free and clear of all mortgages, deeds

of trust, notices of interest, security interests, conditional sale or other title retention agreements,

pledges, liens (as defined in 11 U.S.C. § 101(37)), claims (as defined in 11 U.S.C. § 101(5)),

judgments, demands, easements, charges, encumbrances, defects, options, rights of first refusal,

interests, or restrictions of any kind (collectively, “Interests”), including, without limitation,

Interests (1) that purport to give to any party a right or option to effect any forfeiture,

modification, right of first refusal or termination of the Debtor’s or Ultimate Buyer’s interest in

the Assets, or any similar rights, and (2) relating to taxes arising under, out of, or in connection

with the transfer of the Assets or in any way relating to the operation of the Debtor’s business

prior to the date (the “Closing Date”) of the consummation of the Purchase Agreement (the

“Closing”);

         U.       Buyer would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby, thus adversely affecting the Debtor, its estate

and its creditors, if the Sale of the Assets to Buyer and the assignment of the Assumed Contracts

to Buyer was not free and clear of all Interests of any kind or nature whatsoever (excepting only

the Assumed Obligations), or if Buyer would, or in the future could, be liable for any debts of,

obligations of, or claims against the Debtor (excepting only the Assumed Obligations);

         V.       the Debtor may sell the Assets “free and clear” of all Interests of any kind or

nature whatsoever (excepting only the Assumed Obligations) because, with respect to each

Interest, one or more of the standards set forth in 11 U.S.C. § 363(f)(1) through (5) has been

satisfied;

         W.       more particularly and without limitation,



{00176299.DOC / 2}                                   6
4865-8928-6249, v. 1
  Case 23-21941           Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                   Document      Page 51 of 65




                  (i)     applicable nonbankruptcy law permits sale of the Assets free and clear of

         certain alleged Interests,

                  (ii)    the holders of Interests, including non-debtor parties to Assumed

         Contracts, who did not object, or who withdrew their objections, to the Sale or to the

         Motion, are deemed to have consented pursuant to sections 363(f)(2) and 365 of the

         Bankruptcy Code,

                  (iii)   certain alleged Interests are in bona fide dispute, and

                  (iv)    the holders of all Interests, including non-debtor parties to Assumed

         Contracts, who did timely object, could be compelled in a legal or equitable proceeding,

         to accept a money satisfaction of the Interest;

         X.       neither (i) the transfer of the Assets to Buyer, nor (ii) the assumption and

assignment to Buyer of the Assumed Contracts and Assumed Obligations, will subject Buyer to

any liability whatsoever with respect to the operation of the Debtor’s business prior to the

Closing Date or by reason of such transfer based, in whole or in part, directly or indirectly, on

any theory of law or equity, including, without limitation, any theory of successor or transferee

liability;

         Y.       no ostensible holder of an Interest in or against the Assets timely filed an

objection or response to the Motion, and no holder of an Interest proved the validity, priority

enforceability and non-avoidability of its Interest at or prior to the Approval Hearing;

         Z.       as such, no Interests shall attached to the Cash Payment or other proceeds paid

and delivered to the Debtor in connection with the Sale, and all such cash and non-cash proceeds

shall be held and possessed by the Debtor free and clear of any lien, claim, encumbrance or other

Interest;

         AA.      as to the Assumed Contracts, (i) proper, timely, adequate and sufficient notice of

the assumption and assignment of the Assumed Contracts has been provided in accordance with



{00176299.DOC / 2}                                  7
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                  Document      Page 52 of 65




sections 102(1) and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6006 and 9014, and

the Procedures Order, (ii) such notice was good, sufficient and appropriate under the particular

circumstances, and (iii) no other or further notice of the assumption and assignment of the

Assumed Contracts is or shall be required;

         BB.      the Debtor has demonstrated (i) that its determination to assume and assign the

Assumed Contracts to Buyer in connection with the consummation of the Sale is an exercise of

its sound business judgment, and (ii) that the assumption and assignment of the Assumed

Contracts is in the best interests of the Debtor, its estate and its creditors;

         CC.      the Assumed Contracts being assigned to, and the liabilities being assumed by,

Buyer are an integral part of the Assets being purchased by Buyer and, accordingly, the

assumption and assignment of Assumed Contracts and Assumed Obligations (i) is reasonable,

and (ii) enhances the value of the Debtor’s estate;

         DD.      Buyer (i) has cured, or has provided adequate assurance of cure, or has obtained

consent from the counterparty regarding a stipulated cure amount, of any default existing prior to

the date hereof under any of the Assumed Contracts, within the meaning of 11 U.S.C.

§ 365(b)(1)(A), and (ii) has provided compensation or adequate assurance of compensation to any

party for any actual pecuniary loss to such party resulting from a default prior to the date hereof

under any of the Assumed Contracts, with the meaning of 11 U.S.C. § 365(b)(1)(B);

         EE.      Buyer has provided adequate assurance of its ability to perform in the future under

the Assumed Contracts, within the meaning of 11 U.S.C. § 365(b)(1)(C);

         FF.      Buyer has demonstrated its financial ability to consummate the Sale and pay any

applicable cure amounts for Assumed Contracts;

         GG.      cause exists to order that the fourteen day stay otherwise applicable under Federal

Rules of Bankruptcy Procedure 6004(h) and 6006(d) should be waived in that, among other

things, (i) all filed objections to the Motion have been withdrawn or waived and, therefore, no



{00176299.DOC / 2}                                  8
4865-8928-6249, v. 1
  Case 23-21941          Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55                Desc Main
                                   Document      Page 53 of 65




party-in-interest has a right to appeal, (ii) the proposed sale is time sensitive, and (iii) further

delay of the Sale will negatively impact the Debtor and the estate by increasing the expense and

burden of the Assets to the estate and causing a decrease in the net proceeds after the Debtor

pays Property Taxes and certain other obligations payable by the Debtor at Closing;

         HH.      all objections to the Motion, whether filed of record or raised in open court at the

Approval Hearing, that have not been formally withdrawn hereby are overruled with prejudice

and on the merits;

         II.      the legal and factual bases set forth in the Motion establish good cause for the

relief granted herein;

         JJ.      the relief granted herein is in the best interests of the Debtor, its estate, creditors

and other parties in interest;

         KK.      the Motion is well taken, and should be granted; and

         LL.      the Court stated other findings of fact and conclusions of law on the record during

the Approval Hearing, which findings and conclusions are incorporated herein by reference.

         WHEREFORE, based upon the foregoing findings and conclusions, and good cause

appearing, it is hereby

         ORDERED as follows:

                                       GENERAL PROVISIONS

         1.       The Motion shall be, and hereby is, GRANTED as further described herein.

         2.       All objections to the Motion or to the relief requested therein that have not been

withdrawn, waived, or settled, and all reservations of rights identified in such objections, are

overruled with prejudice and on the merits (including objections regarding adequate assurance of

future performance related to Buyer’s financial ability).




{00176299.DOC / 2}                                    9
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                  Document      Page 54 of 65




                        APPROVAL OF THE PURCHASE AGREEMENT

         3.       The Purchase Agreement between the Debtor and Buyer, and all of the terms and

conditions thereof, shall be and hereby are APPROVED.

         4.       Pursuant to section 363(b) of the Bankruptcy Code, the Debtor is authorized and

directed to consummate the Sale pursuant to and in accordance with the terms and conditions of

the Purchase Agreement.

         5.       The Debtor is authorized and directed to execute and deliver, and is empowered to

perform under, consummate and implement, the Purchase Agreement, together with all additional

instruments and documents that may be reasonably necessary or desirable to implement the

Purchase Agreement, and to take all further actions as may be requested by Buyer for the purpose of

assigning, transferring, granting, conveying and conferring to Buyer or reducing to possession the

Assets, or as may be necessary or appropriate to the performance of the obligations as contemplated

by the Purchase Agreement.

                                      TRANSFER OF ASSETS

         6.       The transfer of the Assets to Buyer pursuant to the Purchase Agreement

constitutes a legal, valid and effective transfer of the Assets, and shall vest Buyer with all right,

title and interest of the Debtor in and to the Assets.

         7.       As described and contemplated in the Motion and the Purchase Agreement, the

assets shall be sold and transferred to Buyer subject only to the Assumed Obligations, to wit:

(a) the lien(s) of Toyota Financial Services, Inc., which secure both pre- and post-Petition Date

obligations of Seller related to a 2022 Toyota Truck; and (b) any post-Closing date obligations

owed to counterparties of Assumed Contracts.

         8.       Except only as described in paragraph 7 of this Order, pursuant to sections 105(a)

and 363(f) of the Bankruptcy Code, the Assets shall be transferred to Buyer and, as of the

Closing Date, shall be free and clear of all Interests of any kind or nature whatsoever.



{00176299.DOC / 2}                                10
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                  Document      Page 55 of 65




         9.       Except only as described in paragraph 7 of this Order, all persons and entities

(including, but not limited to, all equity security holders, governmental, tax and regulatory

authorities, lenders, trade and other creditors) holding claims or Interests of any kind or nature

whatsoever in or against the Debtor or the Assets (whether legal or equitable, secured or

unsecured, matured or unmatured, contingent or non-contingent, senior or subordinated), arising

under, out of, in connection with, or in any way relating to the Debtor or the Assets, the

operation of the Debtor’s business prior to the Closing Date, or the transfer of the Assets to

Buyer, shall be and hereby are forever barred and estopped from asserting against Buyer, its

successors or assigns, its property, or the Assets, such persons’ or entities’ claims or Interests.

         10.      At Closing, Buyer shall pay and deliver the Cash Payment and the other

consideration constituting the Purchase Price, as described and in manner provided under the

Purchase Agreement.

         11.      Except only to the extent the Purchase Agreement expressly states that the Debtor

shall pay clearly identified debts at Closing from the Cash Payment, the Debtor shall receive and

hold the Cash Payment and other proceeds of the Sale free and clear of any and all liens or

Interests. No Interests, of any kind or nature whatsoever, shall attach to or arise in the proceeds

of the Sale.
         12.      At or before the Closing, Buyer may designate one or more designees to take title to

the Assets. References to Buyer in this Order, in the Purchase Agreement, and the Procedures

Order shall apply to such designee(s); provided however, that any such designation shall not release

Buyer from any of its duties or obligations under the Purchase Agreement or this Order.

               ASSUMPTION AND ASSIGNMENT OF ASSUMED CONTRACTS

         13.      The Assumed Contracts assumed by the Debtor and assigned to Buyer at Closing,

pursuant to this Order, shall consist of those Assumed Contracts listed on Exhibit “1” to this

Approval Order; provided, however, that Buyer shall have the right up through and including



{00176299.DOC / 2}                                 11
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55            Desc Main
                                  Document      Page 56 of 65




Closing to remove and exclude any particular unexpired lease or executory contract, in which

event (a) such lease or contract shall not be an Assumed Contract, and (b) the obligations under

such lease or contract shall not be Assumed Obligations.

         14.      Pursuant to sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the further terms of this Approval Order and the Closing of the Sale, the

Debtor’s assumption and assignment to Buyer and Buyer’s assumption on the terms set forth in

the Purchase Agreement of all Assumed Contracts is approved, and all requirements of section

365(b)(1) of the Bankruptcy Code are deemed satisfied.

         15.      The Debtor is authorized and directed to (a) assume and assign to Buyer, or its

designee, effective upon the Closing of the Sale, all Assumed Contracts free and clear of all

Interests of any kind or nature whatsoever, and (b) execute and deliver to Buyer, or its designee,

such documents or other instruments as may be necessary to assign and transfer such Assumed

Contracts to Buyer. The Debtor further is authorized and directed to deliver to Buyer all

information and records in the possession of the Debtor relating to such Assumed Contracts.

         16.      Except as provided above, the Assumed Contracts shall be transferred to, and

remain in full force and effect for the benefit of, Buyer in accordance with their respective terms,

except as modified pursuant to agreement with the counterparties thereto, notwithstanding any

provision in any such Assumed Contract (including those of the type described in sections

365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such assignment

or transfer, and, pursuant to section 365(k) of the Bankruptcy Code, the Debtor shall be relieved

from any further liability with respect to such Assumed Contracts after their assignment to and

assumption by Buyer.

         17.      All defaults or other obligations of the Debtor under the Assumed Contracts

arising or accruing prior to the date of this Approval Order (without giving effect to any

acceleration clauses and without giving effect to any penalty rate or penalty provisions of the



{00176299.DOC / 2}                                12
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                  Document      Page 57 of 65




kind specified in section 365(b)(2)(D) of the Bankruptcy Code) and all compensation for

damages with respect to the Assumed Contracts (the “Cure Claims”) shall be cured by Buyer at

the Closing of the Sale, or as soon thereafter as practicable, and Buyer shall have no other

liability or obligation arising or accruing prior to the date of the Closing of the Sale, except as

otherwise expressly provided in the Purchase Agreement, provided, however, that Buyer’s

obligation to pay Cure Claims shall be subject to any agreements between Buyer and the non-

debtor parties to such Assumed Contracts that permit the compromise of such Cure Claims for

agreed payments, which agreements are hereby approved by this Court. Such stipulations shall

be executed by Buyer, the cure claimant, and, to the extent any relief is requested with respect to

the Debtor, by the Debtor.

         18.      The “Cure Amounts” listed on Exhibit “1”, attached hereto and incorporated

herein by reference, shall be, and hereby approved and finally determined, as the amount(s) to be

paid to each non-debtor party to an Assumed Contract in full and complete satisfaction of the

Cure Claim of such counter-party.

         19.      Each non-debtor party to an Assumed Contract is forever barred and estopped

from asserting against the Debtor, Buyer, or the property of either of them, any default existing

as of the date of the Approval Hearing or, as against Buyer, any counterclaim, defense, setoff or

any other claim asserted or assertable against the Debtor with respect to the Assumed Contract.

Subsequent to the Closing, no Cure Claims or any other claims may be asserted against the

Debtor with respect to the Assumed Contracts.

         20.      The failure of the Debtor or Buyer to enforce, at any time, one or more terms or

conditions of any Assumed Contract shall not be a waiver of such terms or conditions, or of the

Debtor’s and Buyer’s rights to enforce every term and condition of the Assumed Contracts.




{00176299.DOC / 2}                                 13
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55                 Desc Main
                                  Document      Page 58 of 65




                                    ADDITIONAL PROVISIONS

         21.      On the date of Closing, each of the Debtor’s creditors and any other persons that

have filed or recorded any document asserting a lien or Interest in the Assets shall execute such

documents and take all other reasonable actions as Buyer deems necessary to release such filed

or recorded document, if any, against the Assets and to give Buyer clear title to the Assets. If

any person fails or refuses to do so after written request and delivery of a copy of this Order,

such person shall be subject to possible monetary sanctions and/or other sanctions for civil

contempt.

         22.      This Approval Order (a) shall be effective as a determination that, as of Closing,

all Interests of any kind or nature whatsoever existing as to the Assets prior to the Closing have

been unconditionally released, discharged and terminated (except only the Assumed Obligations

and Assumed Obligations as expressly provided in paragraph 7 of this Order), and that the

conveyances described herein have been effected, and (b) shall be binding upon and shall govern

the acts of all entities including without limitation, all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, federal, state, and local officials, and all

other persons and entities who may be required by operation of law, the duties of their office, or

contract, to accept, file, register or otherwise record or release any documents or instruments, or

who may be required to report or insure any title or state of title in or to any of the Assets.

         23.      Each and every federal, state and local governmental agency or department

hereby is directed to accept any and all documents and instruments necessary and appropriate to

consummate the transactions contemplated by the Purchase Agreement.

         24.      If any person or entity that has filed financing statements, deeds of trust,

mortgages, mechanic’s liens, lis pendens, notice of interest, or other documents or agreements

evidencing Interests in the Assets shall not have delivered to the Debtor, prior to the Closing



{00176299.DOC / 2}                                  14
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                  Document      Page 59 of 65




Date, in proper form for filing and executed by the appropriate parties, termination statements,

instruments of satisfaction, releases of all Interests which the person or entity has with respect to

the Assets, then Buyer is authorized to file, register, or otherwise record a certified copy of this

Order which, once filed, registered or otherwise recorded, shall constitute conclusive evidence of

the release of all Interests in the Assets of any kind or nature whatsoever.

         25.      All entities that are presently, or on the Closing Date may be, in possession of

some or all of the Assets are directed to surrender possession of the Assets to Buyer on the date

of Closing.

         26.      Except only as described in paragraph 7 of this Order, Buyer shall have no

liability or responsibility for any debt, claim or obligation of the Debtor arising under or related

to the Assets. Without limiting the generality of the foregoing, and except as otherwise

specifically provided herein and in the Purchase Agreement, Buyer shall not be liable for any

claims against the Debtor, or any of its predecessors or affiliates, except as set forth in the

Purchase Agreement, and Buyer shall have no successor liability, transferee liability or vicarious

liability of any kind or nature, whether known or unknown as of the Closing Date, now existing

or hereafter arising, whether fixed or contingent, with respect to the Debtor or any obligations of

the Debtor arising prior to the Closing Date, including, but not limited to, liabilities on account

of any taxes arising, accruing, or payable under, out of, in connection with, or in any way

relating to the transfer of the Assets or the operation of the Debtor’s business.

         27.      Except only as provided in paragraph 7 of this Order, all persons holding claims

or Interests in or against the Debtor or the Assets, of any kind or nature whatsoever, shall be and

hereby are forever barred and estopped from asserting, prosecuting, or otherwise pursuing such

claims or Interests against Buyer, its property, its successors and assigns, or the Assets with

respect to any claim or Interest of any kind or nature whatsoever such person or entity had, has,

or may have in or against the Debtor, its estate, officers, directors, shareholders or the Assets.



{00176299.DOC / 2}                                 15
4865-8928-6249, v. 1
  Case 23-21941         Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55           Desc Main
                                  Document      Page 60 of 65




Following the Closing Date, no holder of a claim or Interest in or against the Debtor shall

interfere with Buyer’s title to, or use and enjoyment of, the Assets based on or related to such

claim or Interest.

         28.      The Court retains jurisdiction to enforce and implement the terms and provisions

of this Order, the Purchase Agreement, all amendments thereto, any waivers and consents

thereunder, and of each of the agreements executed in connection therewith in all respects,

including, but not limited to, retaining jurisdiction (a) to compel delivery of the Assets to Buyer,

(b) to resolve any disputes arising under or related to the Purchase Agreement, except as

otherwise provided therein, (c) to interpret, implement, and enforce the provisions of this Order,

(d) to resolve any and all disputes regarding Assumed Contracts, and (e) to protect Buyer against

any claims or Interests in or against the Debtor or the Assets, of any kind or nature whatsoever.

         29.      Nothing contained in any plan of liquidation confirmed in this case or any order

of this Court confirming such plan shall conflict with or derogate from the provisions of the

Purchase Agreement or the terms of this Approval Order.

         30.      The transactions contemplated by the Purchase Agreement are undertaken by

Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code and,

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Sale shall not affect the validity of the Sale to Buyer, unless the Closing of the

Sale is duly stayed pending such appeal and prior to Closing. Buyer is a purchaser in good faith

of the Assets, and is entitled to all of the protections afforded by 11 U.S.C. § 363(m).

         31.      The consideration provided by Buyer for the Assets under the Purchase

Agreement is fair and reasonable. There is no evidence of any collusion and/or that the sale

price was controlled by agreement among potential bidders. As such, the Sale may not be

avoided under section 363(n) of the Bankruptcy Code.




{00176299.DOC / 2}                                16
4865-8928-6249, v. 1
  Case 23-21941          Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55               Desc Main
                                  Document      Page 61 of 65




         32.      The terms and provisions of the Purchase Agreement and this Order shall be

binding in all respects upon, and shall inure to the benefit of, the Debtor, its estate, its creditors

and equity security holders, Buyer and its respective affiliates, designees, successors and assigns,

and any affected third parties including, but not limited to, all persons asserting Interests in the

Assets to be sold to Buyer pursuant to the Purchase Agreement, notwithstanding any subsequent

appointment of any trustee(s) under any chapter of the Bankruptcy Code, as to which trustee(s)

such terms and provisions likewise shall be binding.

         33.      The failure specifically to include any particular provisions of the Purchase

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Purchase Agreement be authorized and approved in its entirety.

To the extent any provision of the Purchase Agreement is inconsistent with the terms of this

Approval Order, the terms of this Order shall govern.

         34.      The Purchase Agreement and any related agreements, documents or other

instruments may be modified, amended or supplemented by the parties thereto, in a writing

signed by both parties, and in accordance with the terms thereof, without further order of the

Court, provided that any such modification, amendment or supplement does not have a material

adverse effect on the Debtor’s estate.

         35.      This Order shall be effective and enforceable immediately upon entry. The

fourteen day stays applicable under Federal Rules of Bankruptcy Procedure 6004(h) and 6006(d)

in the absence of an order to the contrary shall not, and do not, apply.

         36.      The provisions of this Order are non-severable and mutually dependent.

         37.      Except as provided in the Purchase Agreement, this Order or any other order of

this Court, the Debtor and its estate shall have no further liabilities or obligations with respect to

the Assumed Obligations after the Closing, and all holders of such claims are forever barred and




{00176299.DOC / 2}                                 17
4865-8928-6249, v. 1
  Case 23-21941        Doc 63     Filed 06/29/23 Entered 06/29/23 15:26:55              Desc Main
                                 Document      Page 62 of 65




estopped from asserting such claims against the Debtor, its successors or assigns, its property or

its assets.

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{00176299.DOC / 2}                                18
4865-8928-6249, v. 1
  Case 23-21941      Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55   Desc Main
                              Document      Page 63 of 65




                                      EXHIBIT “1”




                      (List of Assumed Contracts and Cure Claims)




{00176299.DOC / 2}
  Case 23-21941         Doc 63      Filed 06/29/23 Entered 06/29/23 15:26:55    Desc Main
                                   Document      Page 64 of 65




                             List of Contracts to be Assumed and Assigned

             Counter Party                            Contract              Cure Amount




{00176299.DOC / 2}                             Page 1 of 4
4865-8928-6249, v. 1
  Case 23-21941        Doc 63    Filed 06/29/23 Entered 06/29/23 15:26:55             Desc Main
                                Document      Page 65 of 65




                        DESIGNATION OF PARTIES TO BE SERVED

         Service of the foregoing Order shall be served to the parties and in the manner designated
below:

By Electronic Service: I certify that the parties of the record in this case as identified below, are
registered CM/ECF users and will be served notice of entry of the foregoing Order through the
CM/ECF system:


By U.S. Mail: In addition to the parties of record receiving notice through the CM/ECF system,
the following parties should be served notice pursuant to Fed R. Civ. P. 5(b):


                                                      /s/ Jeffrey Trousdale




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